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         UNITED STATES DISTRICT COURT
            DISTRICT OF NEW JERSEY

                UNITED STATES OF AMERICA

                                 v.

                     LILLIAN 0. OKEREKE

                    INDICTMENT FOR
                          21 U.S.C. § 84l(a)




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